         Case 1:14-cr-00146-CCB          Document 171         Filed 07/30/20      Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA                            *
                                                    *
v.                                                  *          Crim. No. CCB-14-146
                                                    *
TYRONE ROBERT BAILEY                                *
                                                    *
*    *   *   *   *   *   *   *   *   *   *    *   * * *   *   *   *   *   *   *   *   *   *   *   *   *

                                             MEMORANDUM

         Tyrone Robert Bailey is a federal prisoner serving a 120-month sentence for drug

trafficking. Now pending is Bailey’s motion for sentence reduction pursuant to 18 U.S.C. §

3582(c)(1)(A) (the “compassionate release” statute), based on underlying health conditions

making him particularly susceptible to serious illness related to COVID-19. (ECF 159). The

government opposes the motion, (ECF 165), and Bailey has replied, (ECF 167). For the reasons

explained below, the motion will be denied.

                                             BACKGROUND

         Between December 2013 and April 2014, Bailey was a member of a conspiracy to

distribute and possess with intent to distribute cocaine. (ECF 79 at 8 (Plea Agreement)). The

conspiracy involved obtaining cocaine from New York and traveling back to the Baltimore area.

(Id.). On March 10, 2014, Maryland State Police stopped a vehicle associated with Bailey on

Interstate 95 for speeding. One of Bailey’s co-conspirators was driving, and Bailey was in the

passenger seat. (Id.). A search of the car revealed more than four kilograms of cocaine, $1600 in

cash, and multiple cell phones. (Id.). On January 6, 2015, Bailey pled guilty to one count of

Conspiracy to Distribute and Possess with Intent to Distribute Cocaine in violation of 21 U.S.C.

§ 846. (See ECF 100 (Judgment)). As part of his plea, Bailey admitted that at least five but less

than fifteen kilograms of cocaine were reasonably foreseeable to him. (ECF 79 at 9). On April 3,



                                                    1
       Case 1:14-cr-00146-CCB          Document 171         Filed 07/30/20      Page 2 of 5



2015, Bailey was sentenced to 120 months’ imprisonment, followed by a five-year term of

supervised release. (ECF 100).

       In December 2018, Congress enacted the First Step Act. See Pub. L. No. 115-391, 132

Stat. 5194. As part of the Act, Congress amended 18 U.S.C. § 3582(c), which empowers courts

to reduce a term of imprisonment if “extraordinary and compelling reasons warrant such a

reduction.” See 18 U.S.C. § 3582(c)(1)(A)(i); Pub. L. 115-391, Title VI, § 603(b), Dec. 21, 2018,

132 Stat. 5239. Before the First Step Act, a court could review a prisoner’s sentence pursuant to

§ 3582(c)(1)(A) only “upon motion of the Director of the Bureau of Prisons” (“BOP”). Id. But

under the amended statute, a court may conduct such a review also “upon motion of the

defendant,” if the defendant has exhausted all administrative remedies to appeal the BOP’s

failure to bring a motion, or if 30 days has lapsed “from the receipt of such a request by the

warden of the defendant’s facility,” whichever is earlier. Id. The court may authorize

compassionate release if, after considering the factors set forth in 18 U.S.C. § 3553(a), the court

finds that “extraordinary and compelling reasons” warrant it. See 18 U.S.C. § 3582(c)(1)(A)(i).

       The government does not contest that Bailey’s motion is properly before the court.

(Opp’n at 10, ECF 165 (“Bailey has exhausted his administrative remedies[.]”)). The only issues

are (1) whether “extraordinary and compelling reasons” warrant reduction of Bailey’s sentence

and (2) if there is such a reason, whether the § 3553(a) factors weigh in favor of a sentence

reduction.

                                          DISCUSSION

       Under 28 U.S.C. § 994(t), the United States Sentencing Commission is responsible for

defining “what should be considered extraordinary and compelling reasons for sentence

reduction” under § 3582(c)(1)(A). According to the Commission’s Policy Statement,




                                                 2
        Case 1:14-cr-00146-CCB                Document 171            Filed 07/30/20         Page 3 of 5



“extraordinary and compelling reasons” exist where (A) the defendant is suffering from a

terminal or serious medical condition; (B) the defendant is over 65 years old, has failing health,

and has served at least ten years or 75 percent of his sentence, whichever is less; (C) the

caregiver of the defendant’s minor child dies or becomes incapacitated, or the defendant’s spouse

or partner becomes incapacitated and the defendant is the only available caregiver; or (D) “other

reasons” as determined by the BOP. See U.S.S.G. §1B1.13 cmt. n.1(A)–(D). The BOP criteria

for “other reasons” justifying a sentence reduction are set forth in Program Statement 5050.50

(“Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C.

§§ 3582 and 4205(g)”). As this court and others have held, however, the court possesses

independent discretion—guided, but not bound by, Sentencing Commission and BOP criteria—

to determine whether there are “extraordinary and compelling reasons” to reduce a sentence. See

United States v. Decator, --- F. Supp. 3d ----, 2020 WL 1676219, at *3 (D. Md. Apr. 6, 2020)

(citing cases).1

         Bailey argues that his risk of developing serious illness related to COVID-19 due to his

underlying medical conditions (asthma and a history of hypertension) constitutes an

“extraordinary and compelling” reason to reduce his sentence. (Mot. at 10, ECF 161). The

Centers for Disease Control (“CDC”) has issued guidance on underlying conditions that increase

an individual’s risk of severe illness related to COVID-19. See Coronavirus Disease 2019

(COVID-19): People with Certain Medical Conditions, CDC,

https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (updated July 17, 2020). The CDC distinguishes between those conditions where


1
 The court’s independent discretion stems from the First Step Act of 2018, which, inter alia, amended 18 U.S.C. §
3582(c) with the stated goal of “increasing the use and transparency of compassionate release.” See First Step Act §
603(b), Pub. L. No. 115-391, 132 Stat. 5194; see also Decator, 2020 WL 1676219, at *1–3 (explaining Policy
Statement § 1B1.13’s partial inconsistency with the First Step Act amendments to § 3582(c)).


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        Case 1:14-cr-00146-CCB                Document 171           Filed 07/30/20         Page 4 of 5



someone “[is] at increased risk” (e.g., obesity), and those where someone “might be at an

increased risk” (e.g., type 1 diabetes). Id. Asthma is in the latter group, as is hypertension. Id.

        The court is not persuaded that Bailey’s underlying medical conditions rise to the level of

an “extraordinary and compelling reason” warranting a sentence reduction. Bailey is relatively

young (34 years old), it does not appear that he is currently suffering from hypertension, and

while the court does not doubt that Bailey’s asthma impacts his life, the CDC now classifies

asthma as a lesser risk factor for severe illness related to COVID-19. Absent evidence of other

(and current) underlying conditions that make Bailey particularly vulnerable to COVID-19, the

court does not believe Bailey’s asthma is grounds for compassionate release. See, e.g., United

States v. Brown, No. CR SAG-10-0344, 2020 WL 3833284, at *4 (D. Md. July 8, 2020) (“Just

because Brown might have one underlying condition that elevates his risk for severe illness from

COVID-19 does not mean that he is entitled to compassionate release. Instead, his underlying

medical conditions must compellingly increase his risk for severe illness, or death, if he were to

contract COVID-19.”).2

        The court acknowledges Bailey’s concerns about the spread of COVID-19 at FCI Fort

Dix, where he is currently incarcerated. But in light of the court’s conclusion that Bailey’s

underlying conditions do not rise to the level of an “extraordinary and compelling reason”

warranting a sentence reduction, the court also finds that the conditions at Fort Dix do not

provide grounds for Bailey’s sentence to be reduced.3

                                               CONCLUSION

        For the foregoing reasons, Bailey’s motion for compassionate release (ECF 159) will be



2
 Unpublished opinions are cited for the persuasiveness of their reasoning rather than any precedential value.
3
 As no extraordinary and compelling reasons exist for a sentence reduction, the court need not address the 18
U.S.C. § 3553(a) factors.


                                                         4
       Case 1:14-cr-00146-CCB         Document 171        Filed 07/30/20     Page 5 of 5



denied. The associated motions to seal (ECF 160, 164, 166) will be granted to protect the

confidentiality of personal medical information. A separate order follows.


  7/30/20                                                              /S/
Date                                                        Catherine C. Blake
                                                            United States District Judge




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